           Case 3:18-md-02843-VC
             Case                 Document
                   MDL No. 2843 Document 1401 Filed
                                                Filed06/06/18
                                                      06/06/18 Page
                                                                 Page
                                                                    1 of1 3of 3



                             UNITED STATES JUDICIAL PANEL
                                          on
                               MULTIDISTRICT LITIGATION


IN RE: FACEBOOK, INC., CONSUMER
PRIVACY USER PROFILE LITIGATION                                                        MDL No. 2843



                                       TRANSFER ORDER


        Before the Panel:* Plaintiffs in one Northern District of California action move under 28
U.S.C. § 1407 to centralize this litigation in the Northern District of California. This motion
involves eight actions pending in four districts, as listed on Schedule A. The Panel also has been
notified of 22 potentially-related actions (“potential tag-along actions”) pending in six districts.1
Plaintiffs in fifteen actions and potential tag-along actions and responding defendants2 support
centralization in the Northern District of California, in the first instance or in the alternative.
Plaintiffs in six actions and potential tag-along actions support centralization and suggest one or
more of the following as transferee district: the Southern District of Texas, the District of Delaware,
the Eastern District of Pennsylvania, the District of the District of Columbia, the Central District of
California, the District of New Jersey, or the Northern District of Illinois.

        On the basis of the papers filed and the hearing held, we find that centralization under Section
1407 will serve the convenience of the parties and witnesses and promote the just and efficient
conduct of this litigation. All responding parties agree that the actions share factual issues arising
out of allegations that Cambridge Analytica and other defendants exploited Facebook’s platform to
obtain user data, and that Facebook should have imposed more robust controls on the use of data by
third party applications to prevent this conduct.3 Centralization will eliminate duplicative discovery,

       *
                Judge Ellen Segal Huvelle took no part in the disposition of this matter.

         Additionally, one or more Panel members who could be members of the putative classes in
this litigation have renounced their participation in these classes and have participated in this
decision.
       1
                See Panel Rules 1.1(h), 7.1, and 7.2.
       2
             Facebook, Inc. (Facebook); Cambridge Analytica LLC (“Cambridge Analytica”);
Cambridge Analytica Holdings LLC; Cambridge Analytica Political LLC; Cambridge Analytica
Commercial LLC; Cambridge Analytica (UK) Ltd.; SCL Elections Ltd.; SCL Group Limited; and
SCL USA Inc.
       3
              There are several shareholder derivative and securities actions pending in the
Northern District of California, and some responding parties have addressed their inclusion in
         Case 3:18-md-02843-VC
           Case                 Document
                 MDL No. 2843 Document 1401 Filed
                                              Filed06/06/18
                                                    06/06/18 Page
                                                               Page
                                                                  2 of2 3of 3



                                                  -2-

prevent inconsistent pretrial rulings on class certification, and conserve the resources of the parties,
their counsel, and the judiciary.

        We find that centralization in the Northern District of California is appropriate. Responding
defendants and plaintiffs in sixteen actions support centralization in that district, where Facebook
is headquartered and relevant evidence and witnesses are likely to be located. Judge Vince Chhabria,
who is presiding over almost half the pending actions, is an experienced transferee judge who can
steer this litigation on a prudent course.

        IT IS THEREFORE ORDERED that the actions listed on Schedule A and pending outside
the Northern District of California are transferred to the Northern District of California, and, with
the consent of that court, assigned to the Honorable Vince Chhabria for coordinated or consolidated
pretrial proceedings.


                                        PANEL ON MULTIDISTRICT LITIGATION




                                                           Sarah S. Vance
                                                               Chair

                                        Marjorie O. Rendell             Charles R. Breyer
                                        Lewis A. Kaplan                 R. David Proctor
                                        Catherine D. Perry




centralized proceedings. Additionally, plaintiff in a potential tag-along action pending in the
Northern District of Illinois opposes inclusion of that action in centralized proceedings. Arguments
advanced by potential tag-along plaintiffs opposing inclusion of their actions in centralized
proceedings will be considered in due course through the conditional transfer order process, where
appropriate, as these actions are not now before the Panel.
     Case 3:18-md-02843-VC
       Case                 Document
             MDL No. 2843 Document 1401 Filed
                                          Filed06/06/18
                                                06/06/18 Page
                                                           Page
                                                              3 of3 3of 3



IN RE: FACEBOOK, INC., CONSUMER
PRIVACY USER PROFILE LITIGATION                                    MDL No. 2843


                                     SCHEDULE A


          Northern District of California

    PRICE v. FACEBOOK, INC., ET AL., C.A. No. 3:18-01732
    RUBIN v. FACEBOOK, INC., ET AL., C.A. No. 3:18-01852
    O’KELLY v. FACEBOOK, INC., ET AL., C.A. No. 3:18-01915
    BEINER, ET AL. v. FACEBOOK, INC., ET AL., C.A. No. 3:18-01953
    GENNOCK, ET AL. v. FACEBOOK, INC., ET AL., C.A. No. 3:18-01891

          Northern District of Illinois

    COMFORTE, ET AL. v. CAMBRIDGE ANALYTICA, ET AL., C.A. No. 1:18-02120

          District of New Jersey

    MALSKOFF, ET AL. v. FACEBOOK, INC., ET AL., C.A. No. 2:18-04451

          Southern District of Texas

    LODOWSKI v. FACEBOOK, INC., ET AL., C.A. No. 4:18-00907
